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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA
                             EVANSVILLE DIVISION

 UNITED STATES OF AMERICA,                       )
                                                 )
                            Plaintiff,           )
                                                 )
                       v.                        )     No. 3:17-cr-00037-RLY-MPB
                                                 )
 STEVEN T. MORGAN,                               ) -01
                                                 )
                            Defendant.           )

                          Courtroom Minutes for March 18, 2019
                         Before the Hon. Richard L. Young, Judge

        Comes now the government by AUSA Todd Shellenbarger, the defendant appears
 in person and by CJA counsel Doug Walton for the Change of Plea hearing set this date.

       The court determines the defendant is not under the influence of alcohol or drugs.

        The court reads the Superseding Indictment and advises the defendant of his rights
 and the maximum and minimum penalties.

        The parties submit a stipulated factual basis for the plea. The defendant pleads
 guilty. The court finds the defendant fully competent and capable of entering an
 informed plea and now adjudges the defendant guilty.

       Sentencing of the defendant is set for May 20, 2019 at 3:30 p.m. in Room 301.

       The defendant is remanded to the custody of the U.S. Marshal.




  All counsel of Record, U.S. Probation and U.S. Marshal
